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           Case 1:14-cv-00217-HG-KSC Document 395-5 Filed 09/05/17 Page 1 of 1                        PageID #:
  Subject: Re: Hope you're hanging in there!   8489
  From: Kyle Smith - To: Cara Barber - Date: May 13, 2016 at 4:49 PM



No kidding. We have had dozens and dozens of emails/calls and probably 40-50 who have already signed up.

I also gave FC the delicious news yesterday that new mediation demands/claims were on their way… :)

From: Cara Barber <carabarber@earthlink.net>
Date: Wednesday, May 11, 2016 at 6:55 PM
To: Kyle Smith <kyle@lynchhoppersmith.com>
Subject: Hope you're hanging in there!

Holy Cow! I thought quite a few would want to pursue these claims, but I had no idea!!! Are you going to
have to start referring these families to other attorneys?

I guess it helps that families no longer have to worry about retaliation since FC’s no longer the Navy or
Marine Corps’ business partner.

Happy to help, if I can.

All my best,

Cara




                                                                   EXHIBIT 29
                                                                       EXHIBIT 4
